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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


ALLIANCE FOR HIPPOCRATIC MEDICINE,                   §
et al.,                                              §
                                                     §
               Plaintiffs,                           §
                                                     §
               v.                                    §       Case No. 2:22-cv-00223-Z
                                                     §
U.S. FOOD AND DRUG ADMINISTRATION,                   §
et al.,                                              §
                                                     §
               Defendants,                           §
                                                     §
DANCO LABORATORIES, LLC,                             §
                                                     §
               Intervenor-Defendant.                 §
                                                     §


         MOTION TO WITHDRAW APPEARANCE OF KAITLYN A. GOLDEN

       Pursuant to Local Rules 7.1 and 83.12(a) of the United States District Court for the

Northern District of Texas, the undersigned counsel for Intervenor-Defendant, Danco

Laboratories, LLC, hereby moves to withdraw the appearance of Kaitlyn A. Golden. (ECF Nos.

23, 38.) Ms. Golden, having appeared in the above-captioned case on behalf of Danco, will no

longer work at Hogan Lovells US LLP and will no longer act as counsel for Danco in this action

after August 14, 2023. In support of this motion, the undersigned represents that Danco is currently

and will continue to be represented by the following counsel:

       Ryan Brown
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       WHEREFORE, the undersigned respectfully requests that the Court grant the withdrawal

of the appearance of Kaitlyn A. Golden as counsel for Danco.



Dated: August 14, 2023                            Respectfully submitted,


                                                  /s/ Jessica L. Ellsworth

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                             CERTIFICATE OF CONFERENCE

        I certify that on August 14, 2023, counsel for Danco conferred with counsel for all parties

regarding this motion. Counsel are unopposed to this motion.

                                                      /s/ Jessica L. Ellsworth




                                 CERTIFICATE OF SERVICE

        I certify that on August 14, 2023, I electronically filed the foregoing using the CM/ECF

system. Notice of this filing will be sent by operation of the Court’s electronic filing system to

all parties of record.

                                                      /s/ Jessica L. Ellsworth
